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 4
     Attorney for Defendant, VICTORIANO PACHECO
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 6
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                             EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )                 CASE NO. 1:11-CR-00376 DLB
10                               )
           Plaintiff,            )
11                               )                 STIPULATION AND
         v.                      )                 ORDER REGARDING
12                               )                 CONDITIONS OF RELEASE
     VICTORIANO PACHECO,         )
13                               )
            Defendant.           )
14   ____________________________)
15            It is hereby agreed to by the Government and Mr. Bazante-Pacheco that the
16   defendant’s condition of release regarding electronic monitoring, including
17   CURFEW, shall be vacated. All other previously imposed conditions of release, not
18   in conflict with this order, remain in full force and effect.
19
     DATED: October 2, 2012                /s/ Kimberly Sanchez
20                                         Assistant United States Attorney
                                           This was agreed to by Ms. Sanchez
21                                         via email on October 1, 2012
22
     DATED: October 2, 2012                /s/ Roger K. Litman __
23                                         ROGER K. LITMAN
                                           Attorney for Defendant
24                                         VICTORIANO PACHECO
25            IT IS SO ORDERED.
26            Dated:   October 9, 2012                 /s/ Dennis L. Beck
     3b142a                                     UNITED STATES MAGISTRATE JUDGE
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